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 Trump Administration Plans to Send Migrants
 to Libya on a Military Flight
 Human rights groups have called conditions in the country’s network of migrant
 detention centers “horrific” and “deplorable.”


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 By Eric Schmitt, Hamed Aleaziz, Maggie Haberman and Michael Crowley
 Reporting from Washington
 May 6, 2025


 The Trump administration is planning to transport a group of immigrants to Libya
 on a U.S. military plane, according to U.S. officials, another sharp escalation in a
 deportation program that has sparked widespread legal challenges and intense
 political debate.

 The nationalities of the migrants were not immediately clear, but a flight to Libya
 carrying the deportees could leave as soon as Wednesday, according to the
 officials, who spoke on the condition of anonymity because they were not
 authorized to discuss the operation.

 The decision to send deportees to Libya was striking. The country is racked with
 conflict, and human rights groups have called conditions in its network of migrant
 detention centers “horrific” and “deplorable.”

 The Libya operation falls in line with the Trump administration’s effort to not only
 deter migrants from trying to enter the country illegally but also to send a strong
 message to those in the country illegally that they can be deported to countries

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 where they could face brutal conditions. Reuters earlier reported the possibility of
 a U.S. deportation flight to Libya.

 The planning for the flight to Libya has been tightly held, and could still be derailed
 by logistical, legal or diplomatic obstacles.


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 The White House declined to comment. The State Department and Defense
 Department did not immediately respond to requests for comment.

 The potential use of Libya as a destination comes after the administration set off
 an earlier furor by deporting a group of Venezuelans to El Salvador, where they are
 being held in a maximum-security prison designed for terrorists.

 President Trump and his aides labeled those men violent gang members and cited
 a rarely used wartime law in their expulsions, a move that has been challenged in
 the courts.

 The State Department warns against traveling to Libya “due to crime, terrorism,
 unexploded land mines, civil unrest, kidnapping and armed conflict.” The country
 remains divided after years of civil war following the 2011 overthrow of its longtime
 dictator, Muammar Gaddafi. A United Nations-recognized government in Tripoli
 rules western Libya, and another in Benghazi, led by the warlord Khalifa Haftar,
 controls the east.

 The United States has formal relations only with the Tripoli government. But Mr.
 Haftar’s son, Saddam, was in Washington last week, and met with several Trump
 administration officials. Mr. Trump had friendly dealings in his first term with Mr.
 Haftar, who controls most of Libya’s lucrative oil fields.

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 A major transit point for Europe-bound migrants, Libya operates numerous
 detention facilities for refugees and migrants. Amnesty International branded
 those sites “horrific” and “a hellscape” in a 2021 report, which found evidence of
 “sexual violence, against men, women and children.” The Global Detention Project
 says detained migrants in Libya endure “physical mistreatment and torture,”
 forced labor and even slavery.

 In its annual report on human rights practices last year, the State Department
 cited “harsh and life-threatening” conditions in Libya’s detention centers and found
 that migrants in those facilities, including children, had “no access to immigration
 courts or due process.”

 Human rights groups say that European governments have been complicit in such
 treatment by working with Libya to intercept migrants bound for the continent and
 send them to the detention centers.

 “I have been in those migrant prisons and it’s no place for migrants,” said Frederic
 Wehrey, a Libya expert at the Carnegie Endowment for International Peace. “It’s
 just a horrific place to dump any vulnerable person.”

 Earlier this year, the Trump administration deported several hundred people to
 Panama from countries in the Eastern Hemisphere, including Iran and China. The
 migrants, who said they did not know where they were going, were detained in a
 hotel for several days before being taken to a camp near the jungle. Some of the
 migrants were later released from Panamanian custody.

 Around the same time, U.S. officials also deported a group of around 200 migrants
 to Costa Rica from countries in the Eastern Hemisphere, including Iran. A lawsuit
 filed against the country argued that the deportations and subsequent detention in
 Costa Rica “could cause irreparable harm” for a group of children sent to the
 country.

 After the United States struck a deal with El Salvador to take Venezuelan migrants
 and imprison them, Secretary of State Marco Rubio said he was working to secure
 similar agreements with additional nations.

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 “I intend to continue to try and identify other countries willing to accept and jail as
 many gang members as we can send them,” Mr. Rubio told The New York Times.

 The planned use of a military plane for the flight to Libya comes after the Defense
 Department has assisted in transporting migrants to locations such as India,
 Guatemala and Ecuador.

 In late March, Defense Department officials flew a group of Venezuelan migrants
 to El Salvador without any staff from the Department of Homeland Security on the
 plane, according to court records. The flight took off from Guantánamo Bay, Cuba,
 to El Salvador and included four Venezuelans. A government filing indicated that
 the Department of Homeland Security did not “direct” the plane to take off for El
 Salvador.
 Zolan Kanno-Youngs contributed reporting.

 Eric Schmitt is a national security correspondent for The Times, focusing on U.S. military affairs and
 counterterrorism issues overseas, topics he has reported on for more than three decades.

 Hamed Aleaziz covers the Department of Homeland Security and immigration policy for The Times.

 Maggie Haberman is a White House correspondent for The Times, reporting on President Trump.

 Michael Crowley covers the State Department and U.S. foreign policy for The Times. He has reported from
 nearly three dozen countries and often travels with the secretary of state.




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       Exclusive: US may soon deport migrants to Libya on military flight, sources say
       By Phil Stewart, Idrees Ali and Humeyra Pamuk
       May 7, 2025 12:19 PM EDT · Updated 24 min ago




       Venezuelan migrants arrive after being deported from the United States, at Simon Bolivar International Airport, in Maiquetia, Venezuela April 23, 2025.
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     Summary

     U.S. may deport migrants to Libya despite past rights criticism, say sources
     First deportation flights may leave Wednesday
     U.S. seeks more deportation destinations


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       WASHINGTON, May 6 (Reuters) - U.S. President Donald Trump's administration may deport migrants to Libya for the first time
       this week, three U.S. officials said on Tuesday, as part of his immigration crackdown and despite Washington's past
       condemnation of Libya's harsh treatment of detainees.

       Two of the officials said the U.S. military could fly the migrants to the North African country as soon as Wednesday, but
       stressed that plans could change.



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       The Pentagon referred queries to the White House. The White House and Department of Homeland Security did not
       immediately respond to requests for comment.

       A State Department spokesperson said: "We do not discuss the details of our diplomatic communications with other
       governments."

       Reuters could not determine how many migrants would be sent to Libya or the nationalities of the individuals that the
       administration is eyeing for deportation.

       Libya's Government of National Unity said on Wednesday it rejected the use of Libyan territory as a destination for deporting
       migrants without its knowledge or consent. It also said there was no coordination with the United States regarding the
       reception of migrants.

       Khalifa Haftar's Libyan National Army, which controls eastern Libya, also rejected in a statement the idea of the country taking
       migrants deported from the United States, saying it "violates the sovereignty of the homeland".


       Trump, who made immigration a major issue during his election campaign, has launched aggressive enforcement action since
       taking office, surging troops to the southern border and pledging to deport millions of immigrants in the United States
       illegally.

       As of Monday, the Trump administration has deported 152,000 people, according to DHS.

       The administration has tried to encourage migrants to leave voluntarily by threatening steep fines, trying to strip away legal
       status, and deporting migrants to notorious prisons in Guantanamo Bay and El Salvador.

       LIFE-THREATENING

       In its annual human rights report released last year, the U.S. State Department criticized Libya's "harsh and life-threatening
       prison conditions" and "arbitrary arrest or detention."

       In its travel advisory, the Department advises U.S. citizens against visiting the country due to "crime, civil unrest, kidnapping
       and armed conflict."

       Libya's west is overseen by the GNU under Prime Minister Abdulhamid al-Dbeibah, who was installed in Tripoli through a U.N.-
       backed process in 2021. Eastern Libya has a parallel administration and is controlled by commander Khalifa Haftar's Libyan
       National Army.




       Major fighting ended with a truce in 2020 but the underlying political dispute between the sides remains and there are
       sporadic clashes between rival factions.



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       U.S. Secretary of State Marco Rubio last week said the United States was not satisfied only with sending migrants to El
       Salvador, and hinted that Washington was looking to expand the number of countries that it may deport people to.

       "We are working with other countries to say: We want to send you some of the most despicable human beings, will you do this
       as a favor to us," Rubio said at a cabinet meeting at the White House last Wednesday.

       "And the further away from America, the better."

       A fourth U.S. official said the administration has for several weeks been looking at a number of countries to send migrants to,
       including Libya.

       It wasn't immediately clear if the administration had struck an agreement with the Libyan authorities to accept deportees of
       other nationalities.

       On April 19 the Supreme Court justices temporarily barred the Trump administration from deporting a group of Venezuelan
       migrants it accused of being gang members. Trump's administration, which has invoked a rarely used wartime law, has urged
       the justices to lift or narrow their order.

       It is unclear what kind of due process might be underway ahead of any Libya deportations.

       Libya has had little peace since a 2011 NATO-backed uprising, and it split in 2014 between eastern and western factions, with
       rival administrations governing in each area.

       A Tripoli-based Government of National Unity under Prime Minister Abdulhamid al-Dbeibah was installed through a U.N.-
       backed process in 2021 but the Benghazi-based House of Representatives no longer recognizes its legitimacy.

       Reporting by Humeyra Pamuk, Idrees Ali and Phil Stewart; Additional reporting by Hani Amara in Istanbul, Ayman al-Werfali in Benghazi, Gram
       Slattery and Ted Hesson; Editing by Michael Perry and Chizu Nomiyama


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          NPR, PBS NewsHour, Fox News and other programs and moderated national security events, including at the Reagan
          National Defense Forum and the German Marshall Fund. He is a recipient of the Edwin M. Hood Award for Diplomatic
          Correspondence and the Joe Galloway Award.




                       Idrees Ali
                       Thomson Reuters

          National security correspondent focusing on the Pentagon in Washington D.C. Reports on U.S. military activity and
          operations throughout the world and the impact that they have. Has reported from over two dozen countries to include Iraq,
          Afghanistan, and much of the Middle East, Asia and Europe. From Karachi, Pakistan.



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                       Humeyra Pamuk
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          Humeyra Pamuk is a senior foreign policy correspondent based in Washington DC. She covers the U.S. State Department,
          regularly traveling with U.S. Secretary of State. During her 20 years with Reuters, she has had postings in London, Dubai,
          Cairo and Turkey, covering everything from the Arab Spring and Syria's civil war to numerous Turkish elections and the
          Kurdish insurgency in the southeast. In 2017, she won the Knight-Bagehot fellowship program at Columbia University’s
          School of Journalism. She holds a BA in International Relations and an MA on European Union studies.




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                          Donald Trump promised voters "mass deportations"
                          The US may soon start deporting migrants to Libya as part of its crackdown on
                          immigration, two US officials have told BBC partner CBS News.

                          The officials, who requested anonymity, said the US military could fly migrants to the
                          North African country as early as this week.

                          The move is likely to spark controversy - Libya has been mired in conflict for more
                          than a decade and the US state department advises Americans not to travel there due
                          to factors like crime, terrorism and civil unrest.

                          The BBC has approached the US state department for comment.




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                            Donald Trump's administration.
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                            This week Rwanda confirmed it was in the "early stage" of talks with the US, while
                            Benin, Angola, Equatorial Guinea, Eswatini, and Moldova have all been named in
                            media reports.

                               Migrants on edge as Trump administration ramps up raids and arrests

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                            It is not clear how many people the US hopes to deport to Libya, or which part of Libya
                            the migrants would be sent to.

                            Since the overthrow of former ruler Muammar Gaddafi in 2011, the country has been
                            divided into two - the west is ruled by a UN-backed government, while military
                            strongman Gen Khalifa Haftar controls the east.

                            Haftar's son met US officials in Washington last Monday, but the US state department
                            and a Libyan spokesperson said the meeting was not about deportations.

                            Since returning to office in January, President Trump has launched a mass
                            deportation campaign - at times relying on controversial tactics such as the invocation
                            of a centuries-old wartime law.

                            Earlier this week, the government offered migrants who are in the US illegally a sum
                            worth $1,000 (£751) to leave the country.
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    Trump admin moving forward with
    plans to transport undocumented
    immigrants to Libya
    By Alayna Treene, CNN
        2 minute read · Updated 12:23 PM EDT, Wed May 7, 2025




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       In this January 30 photo, migrants are deported using a US military plane in El Paso, Texas. Christian
       Torres/Anadolu/Getty Images/File



    (CNN) — The Trump administration is moving forward with plans to transport a group of
    undocumented immigrants to Libya on a US military plane, an administration official told CNN.

    It is unclear when the plane would leave and whether other groups of migrants would also be
    sent to Libya — a country engaged in an ongoing civil conflict — in the future, the official said.

    Flight trackers show that a US Air Force C-17 has filed a plan to fly on Wednesday from Kelly
    Field in San Antonio to Misrata Airport in Libya. The US has repeatedly used the large C-17s to
    transport migrants in recent months.

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    The White House declined to comment. CNN first reported the administration was
    communicating with Libya to have the country take migrants from the United States. Reuters
    first reported on the potential military flight this week.

    The decision to send migrants to Libya which the UN has previously criticized for its harsh
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    The decision to send migrants to Libya, which the UN has previously criticized for its harsh
    treatment of migrants, is a further escalation of the president’s deportation policies — which
    have faced widespread political and legal backlash.



    The State Department’s website has a Level 4 travel advisory for Libya. “Do not travel to Libya
    due to crime, terrorism, unexploded landmines, civil unrest, kidnapping, and armed conflict,”
    the site reads.

    Conversations about sending migrants to other countries in Africa, such as Rwanda, continue.
    But there are no confirmed plans for flights to those other countries right now, sources familiar
    with those discussions said.

    Natasha Bertrand and Kylie Atwood contributed to this report.



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   Trump administration plans to send migrants to Libya’s ‘horrific’
   detention centers
   Libya serves as a hub for migrants trying to get to Europe, and the country has several detention facilities for refugees and migrants

   Gustaf Kilander in Washington D.C. • Wednesday 07 May 2025 05:26 BST •                           Comments




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   The Trump administration has developed plans to send migrants to detention centers in Libya on a military
   flight, according to Reuters.



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   The flight could depart as soon as Wednesday, officials told The New York Times. The nationalities of those set
   to be on the flight were not immediately apparent.

   Libya is in the middle of severe conflict, and human rights groups have called its migrant detention centers
   “horrific” and “deplorable.”

   The effort comes as the Trump administration is working to deter migrants from entering the U.S., as well as
   send a message to those in the country unlawfully that they can be sent to countries with difficult conditions.




   The flight may still not occur due to legal, logistical, or diplomatic restrictions. The administration has already
   faced pushback for sending a group of Venezuelans to El Salvador, where they are being detained in a prison
   designated for terrorists.

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   The State Department advises the American public against going to Libya “due to crime, terrorism, unexploded
   land mines, civil unrest, kidnapping, and armed conflict.”




   The country has faced years of civil war since the 2011 overthrow of Muammar Gaddafi, its longtime dictator.
   The country remains divided – a UN-recognized government governs western Libya from Tripoli. At the same
   time, the east is ruled by a government led by the warlord Khalifa Haftar, who controls most of the country’s oil
   fields.




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     Libyans walk around in Tripoli's Martyrs Square on April 28, 2025. The Trump administration plans to send migrants to the divided country (AFP via Getty
     Images)


   The U.S. only has a formal relationship with the government in Tripoli, but that didn’t stop Haftar’s son,
   Saddam, from visiting Washington last week, meeting with several Trump officials. Trump had a friendly
   relationship with Haftar during his first term in the White House.




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   Libya serves as a hub for migrants trying to get to Europe, and the country has several detention facilities for
   refugees and migrants. In a 2021 report, Amnesty International said those facilities made up a “horrific”
   “hellscape” with evidence of “sexual violence against men, women and children.”

   Meanwhile, the Global Detention Project said migrants held in Libya may be the subject of “physical
   mistreatment and torture,” as well as forced labor and slavery.




   The State Department pointed to “harsh and life-threatening” conditions in the detention centers in the country
   in its annual report last year. It found that migrants had “no access to immigration courts or due process.”

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   A Libya expert at the Carnegie Endowment for International Peace, Frederic Wehrey, told The Times: “I have
   been in those migrant prisons and it’s no place for migrants.”




   He added: “It’s just a horrific place to dump any vulnerable person.”
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                             Libya

                             US planning to deport migrants to Libya
                             despite ‘hellish’ conditions – reports
                             Libya’s provisional government has denied claims flight
                             could happen as soon as this week




                               A vessel rescuing people in the central Mediterranean off Libya last year. Human rights organisations have
                             documented how migrants trapped in the country are at the mercy of militias and smugglers. Photograph:
                             Anadolu/Getty Images


                             Lorenzo Tondo in Palermo and Edward Helmorein New York
                             Wed 7 May 2025 12.03 EDT


                             The Trump administration is planning to deport a group of migrants to
                             Libya, according to reports, despite the state department’s previous
                             condemnation of the “life-threatening” prison conditions in the country.

                             Libya’s provisional government has denied the reports.

                             Reuters cited three unnamed US officials as saying the deportations could
                             happen this week. Two of the officials said the individuals, whose
                             nationalities are not known, could fly to the north African country as soon as
                             Wednesday, but they added the plans could still change. The New York
                             Times also cited a US official confirming the deportation plans.

                             It was not clear what Libya would be getting in return for taking any
                             deportees.

                             Human rights groups condemned the reported plans, noting the country’s
                             poor record on human rights practices and harsh treatment of detainees.

                             “Migrants have long been trafficked, tortured and ransomed in Libya. The
                             country is in a civil war. It is not a safe place to send anyone,” Sarah Leah
                             Whitson, the executive director of Democracy for the Arab World Now
                             (Dawn), wrote on X.

                             Aaron Reichlin-Melnick, senior fellow at the American Immigration Council,
                             wrote on the platform alongside a picture of a Libyan detention facility:

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                             “Don’t look away. This is what Libya’s migrant detention facilities look like.
                             This is what Trump is doing.”

                             Reichlin-Melnick added: “Amnesty International called these places a
                             ‘hellscape’ where beatings are common and sexual violence are rampant.
                             There are reports of human trafficking and even slavery.”

                             Claudia Lodesani, head of programs for Médecins Sans Frontières (MSF),
                             said the group was “very concerned” about the possible consequences of
                             such a plan, saying reports by media outlets and human rights organisations
                             showed that “Libya is not a safe country for migrants”

                             Lodesani pointed to a 2023 United Nations report which documented
                             “widespread practices of arbitrary detention, torture, rape and slavery and
                             concluding there were grounds to believe a wide array of crimes against
                             humanity have been committed against migrants in Libya”.

                             Government agencies, including the defense department, the White House,
                             state department and department of homeland security did not immediately
                             respond to the Guardian’s requests for comment. The defense department
                             later directed inquiries to the White House.

                             Reports of planned deportations to Libya come as the Trump administration
                             is expanding its efforts to negotiate the deportations of US migrants to third-
                             party countries, including Angola, Benin, Eswatini, Moldova and Rwanda.
                             This is alongside the at least 238 Venezuelan immigrants already deported to
                             a prison in El Salvador.

                             Libya is a major transit point for Europe-bound asylum seekers. For years,
                             human rights organisations have documented how migrants trapped in the
                             country are at the mercy of militias and smugglers. Tens of thousands of
                             people from sub-Saharan Africa are kept indefinitely in overcrowded refugee
                             detention centres where they are subjected to abuses and torture.

                             In its annual human rights report released last year, the US state department
                             criticised Libya’s “harsh and life-threatening prison conditions” and
                             “arbitrary arrest or detention”, citing how migrants , including children, had
                             “no access to immigration courts or due process”.

                             The news has prompted condemnation from aid agencies and NGOs that
                             operate in the central Mediterranean, which have long warned about the
                             harsh conditions faced by asylum seekers in Libya. They have also accused
                             European governments of being complicit in such treatment by working with
                             Libya to intercept migrants.

                                                  ‘‘For 10 years now since our foundation, as a search and
                             rescue organisation, we have continuously highlighted that Libya is not a
                             safe place for migrants and refugees,” said Mirka Schäfer, a political expert
                             for the German search-and-rescue organisation SOS Humanity. “Evidence
                             from survivors onboard our vessel Humanity 1, includes refugees with traces
                             of torture on their bodies, gunshot wounds, pain caused by beatings,
                             physical and psychological wounds while in transit, in detention camps in
                             Libya, or fleeing Libya across the Mediterranean.”

                             One person onboard the Humanity 1 ship said criminal groups operating in
                             Libya “sell people like they would sell bread”.

                             Luca Casarini, the Italian founder of the NGO Mediterranea Saving Humans,
                             said the reported move by Trump was “an endorsement of the horror that
                             has characterised his administration’s policies since the very beginning”.

                             ‘‘Libya is one of the most hellish places on Earth, where mafias and
                             smugglers operate with the complicity of the European Union. But Trump
                             goes a step further. The American president claims ownership of this horror
                             by deporting people to a hell that is Libya, flaunting his power. It is a move
                             that drags our civilisation toward the abyss.’’


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                             Libya’s government of national unity said on Wednesday it rejected the use
                             of its territory as a destination for deporting migrants without its knowledge
                             or consent. The government added there was no coordination with the US
                             regarding the reception of migrants.

                             Trump, who made immigration a major issue during his election campaign,
                             has launched aggressive enforcement action since taking office, increasing
                             troops to the southern border and pledging to deport millions of
                             undocumented immigrants from the US.

                             As of Monday, the Trump administration had deported 152,000 people,
                             according to the Department of Homeland Security. Trump’s administration
                             has tried to encourage migrants to leave voluntarily by threatening steep
                             fines, trying to strip away legal status, and sending migrants to notorious
                             prisons in Guantánamo Bay and El Salvador.

                             The US secretary of state, Marco Rubio, last week said the US was not
                             satisfied with sending migrants only to El Salvador, and hinted that
                             Washington was looking to expand the number of countries to which it could
                             deport people.

                             “We are working with other countries to say: we want to send you some of
                             the most despicable human beings; will you do this as a favour to us?” Rubio
                             said at a cabinet meeting at the White House last Wednesday. “And the
                             further away from America, the better.”

                             A fourth US official said the administration had for several weeks been
                             looking at a number of countries where it might be able to send migrants,
                             including Libya.

                             On 19 April the supreme court temporarily barred the Trump administration
                             from deporting a group of Venezuelans it accused of being gang members.

                             Trump’s administration, which has invoked a rarely used wartime law, has
                             urged the justices to lift or narrow their order.

                             Reuters contributed to this report


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                                                          By Khaleda Rahman
                                                           National Correspondent

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    P        resident Donald Trump's administration is planning to deport migrants to Libya,
             according to reports.

    The U.S. military could fly deportees to the country as soon as Wednesday, The New York
    Times and Reuters reported, citing officials who spoke on the condition of anonymity.

    It was not immediately known how many migrants could be sent to Libya or the
    nationality of the individuals the administration may deport.

    Newsweek has contacted the White House, State Department and Department of
    Homeland Security for comment outside regular business hours.




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    President Donald Trump speaking in the Oval Office of the White House on Tuesday.           ANNA
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    Why It Matters
    Libya has become notorious for its network of migrant detention centers, which human
    rights groups have described as inhumane.

    In a 2021 report, Amnesty International called the facilities a "hellscape," where detainees
    suffer torture, sexual violence, forced labor, and even slavery.

    In an annual report on human rights practices in Libya released last year, the State
    Department described the conditions in the country's detention centers as "harsh and
    life-threatening."




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    It added that migrants in these facilities, including children, had "no access to
    immigration courts or due process."

    What To Know
    Trump, who made immigration a centerpiece of his campaign, has launched a major
    crackdown since returning to office in January. His administration has detained and
    deported thousands of people, including sending alleged gang members to notorious
    prisons in Guantanamo Bay and El Salvador.

    One official told Reuters that the Trump administration had been looking at a number of
    countries to send migrants to, including Libya. But it was not immediately clear if the
    administration had reached an agreement with Libyan authorities to accept deportees of
    other nationalities.

    The State Department has issued a Level 4 travel advisory for Libya, warning Americans
    against traveling there due to "crime, terrorism, unexploded landmines, civil unrest,
    kidnapping, and armed conflict."




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    It was previously reported that the administration was also considering sending migrants
    to Rwanda.

    What People Are Saying
    Secretary of State Marco Rubio said at a Cabinet meeting in the White House last week:
    "We are actively searching for other countries to take people from third countries... not
    just El Salvador. We are working with other countries to say: 'we want to send you some
    of the most despicable human beings to your countries, will you do that as a favor to us'.
    And the further away from America, the better so they can't come back across the
    border."

    Sarah Leah Whitson, the executive director of Democracy for the Arab World Now, a
    nonprofit organization, wrote on X, formerly Twitter: "Migrants have long been trafficked,
    tortured and ransomed in Libya. The country is in a civil war. It is not a safe place to send
    anyone."

    Aaron Reichlin-Melnick, senior fellow at the American Immigration Council,wrote on X,
    alongside a picture of a detention facility in Libya: "Don't look away. This is what Libya's
    migrant detention facilities look like. This is what Trump is doing.




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    "Amnesty International called these places a 'hellscape' where beatings are common and
    sexual violence are rampant. There are reports of human trafficking and even slavery."




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    What Happens Next
    The legal path forward remains uncertain. A Supreme Court order in April temporarily
    barred the deportation of a group of Venezuelans that the administration had labeled as
    gang members. It remains unclear if any similar legal action will be taken ahead of any
    deportations to Libya.

    Meanwhile, the Trump administration is reportedly exploring agreements with more
    countries willing to accept deportees.




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                      POLITICS


                    Trump administration may soon deport
                    migrants to Libya, U.S. officials say

                    By Camilo Montoya-Galvez, Eleanor Watson
                    May 6, 2025 / 11:24 PM EDT / CBS News




                    The Trump administration may soon start deporting migrants to
                    Libya, expanding its mass deportation campaign to the troubled
                    North African country, two U.S. officials told CBS News Tuesday.

                    The deportations, expected to be operated by the U.S. military,
                    could start as early as this week, the officials said, requesting
                    anonymity to discuss internal government plans.

                    Libya is one of several far-flung nations the U.S. government has
                    been asking to accept deportations of migrants from third
                    countries, CBS News reported earlier this week.
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                    The possibility of U.S. deportations to Libya, reported earlier
                    Tuesday by Reuters, is a stunning proposition given the deep
                    political and social turmoil the North African country finds itself
                    in, as well as its human rights record.

                    Since a civil war erupted in 2011, Libya has been plagued by
                    armed conflict and political tumult. The country, itself a corridor
                    for desperate migrants hoping to reach Europe by crossing the
                    Mediterranean Sea, is divided into two factions. The western
                    part of the country is overseen by a United Nations-backed
                    government in Tripoli, while the east is controlled by a
                    strongman.

                    The State Department has a Level 4 travel advisory for Libya,
                    warning Americans not to travel there because of "crime,
                    terrorism, unexploded landmines, civil unrest, kidnapping, and
                    armed conflict."




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                    Libyans walk around in Tripoli's Martyrs Square on April 28, 2025.
                    M A H M U D T U R K I A / A F P V I A G E T T Y I M AG E S



                    Libya has also gained infamy over its treatment of migrants
                    seeking to reach Europe, with both advocates and U.S. officials
                    finding that detainees in the North African country face brutal
                    conditions, due process violations and even torture in
                    immigration detention centers.

                    It's unclear who exactly would be deported to Libya under the
                    plans being considered by the Trump administration and
                    whether they would be detained by authorities there upon
                    arrival.




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                    As part of its aggressive efforts to deter migrants from entering
                    or staying in the U.S. illegally, the Trump administration has
                    mounted an intense diplomatic campaign to forge deportations
                    agreements that allow the U.S. to send migrants to countries that
                    are not their own.

                    It has already persuaded several Latin America countries to
                    accept third country nationals, sending Asian and African
                    migrants to Costa Rica and Panama, as well as a group of
                    Venezuelan men accused of gang membership to El Salvador,
                    which transferred them to a notorious mega prison.

                    But the Trump administration has also sought to broker
                    deportation agreements with countries in other continents,
                    including Africa and Europe.

                    The other countries U.S. officials have approached for potential
                    third country deportation arrangements include Angola, Benin,
                    Eswatini, Moldova and Rwanda, according to internal U.S.
                    government documents and officials.

                    It's unclear whether any of those countries will finalize
                    agreements with the U.S. After CBS News identified Angola as
                    one of the countries the U.S. had approached, its embassy in

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                    Washington said the West African country would not accept
                    deportees from third countries.


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                          stipend if they self-deport




                          U.S. seeking deportation deals with Angola,
                          Equatorial Guinea




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                    In:      Deportation          Mass Deportation             Trump Administration    Libya




                    Camilo Montoya-Galvez

                    Camilo Montoya-Galvez is the immigration reporter at CBS News.
                    Based in Washington, he covers immigration policy and politics.

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    Trump to visit Saudi Arabia, Qatar and UAE in May

    The president’s trip aims to “strengthen ties” with these countries, White House press secretary Karoline Leavitt said.




                             President Donald Trump walks off the plane at the Philadelphia International Airport on June 22, 2024, in

                             Philadelphia, Pennsylvania. | Anna Moneymaker/Getty Images




                             By   AMANDA   FRIEDMAN

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                              President Donald Trump will travel to Saudi Arabia, Qatar and the United Arab
                              Emirates next month, White House press secretary Karoline Leavitt said on
                              Tuesday.

                              Leavitt announced during a White House press briefing that he’ll visit the
                              Middle Eastern nations from May 13 to May 16.

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                              The three-country tour will be Trump’s second foreign trip since returning to
                              office. The president announced plans on Monday to travel to Italy later this
                              week for Pope Francis’ funeral.
                              Leavitt said the trip is intended to help “strengthen ties” with the Middle
                              Eastern countries. Saudi Arabia, Qatar and the United Arab Emirates have
                              provided diplomatic support to the Trump administration in recent months,
                              including assisting with ceasefire negotiations for the ongoing conflicts in
                              Ukraine and Gaza.

                              “He will have many bilateral meetings and talks and we look forward to the
                              trip,” Leavitt said.


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